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IN 'I'HE UNITED S'I‘ATES DISTRICT COURT " ‘c'

 

FOR THE wEsTERN DISTRICT 0F TENNESSEE g

WESTERN DIVISION sJU~ 30 PH 2’1¢2
UNITED sTATEs OF AMERICA, ` W/D;%}§TZJSY§LHS
vs. No. 01-20112-Ma

MARCHELLO JIMMY LOVERSON,

Defendant.

 

ORDER GR.A.NTING MOTION AND SE'I"I'ING RE-SENTENCING HEARING

 

Before the court is defendant's June 27, 2005, motion to set
the re-sentencing hearing in this matter. For good cause shown,
the motion is granted. A re-sentencing hearing is set Tuesday,
August 2, 2005, at 9:00 a.m.

§
It is so ORDERED this13 day of June, 2005.

y¢//M/L__`

SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RICT JUDGE

 

Th‘ls decl. ment entered on the docket sheet In com llance
with R.lie 55 and!or 32fb) FHCrP on ‘ _

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 140 in
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Honorable Samuel Mays
US DISTRICT COURT

